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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS

                                   SAN ANTONIO DIVISION


 LOGAN PAUL,

                                Plaintiff,
        v.
                                                           Civil Action No. 5:24-cv-00717
 STEPHEN FINDEISEN AND COFFEE BREAK
 PRODUCTIONS LLC D/B/A COFFEEZILLA,

                                Defendants.


MOTION TO COMPEL PRODUCTION OF EVIDENCE RELEVANT TO PLAINTIFF’S
              GOOD FAITH INTENTIONS AND ACTIONS

       Plaintiff Logan Paul moves this Court to compel Defendants to produce the evidence they

possessed, when they published the libels at issue in this case, reflecting Paul’s good-faith and lack

of fraudulent intent with respect to the CryptoZoo project.           Specifically, Paul seeks any

communications with sources who provided information regarding Paul’s good-faith intentions,

or lack of bad-faith intentions, with respect to CryptoZoo, as well as any documents, notes, drafts,

or outtakes in Defendants’ possession that reflect upon Defendants’ understanding and knowledge

as to Paul’s good-faith intentions or lack of bad-faith intentions (collectively the ”Malice

Evidence”).

                                         BACKGROUND

       Paul filed this libel action after Defendants repeatedly accused him of perpetrating a

financial scam in connection with a troubled blockchain project called CryptoZoo. (Compl. at 1

[Dkt. 1].) In YouTube videos and Twitter posts, Defendants charged that Paul orchestrated the

entire project as a scam to swindle his own fans out of money. (Id. ¶¶ 7-12, 80-97.) In actuality,

and as Defendants knew, Paul had been enthusiastic and deeply committed to the project’s success.


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(Id. ¶¶ 2, 8, 56, 57, 100, 141, 155.) The project failed, not because Paul defrauded anyone, but

chiefly because of incompetence and worse by those that Paul entrusted with its technical aspects.

(Id. ¶¶ 56, 150.)

       Because Paul is a public figure, to prevail in this action, he must show that Defendants

published their false charges with actual malice—that is, with a high degree of awareness of their

probable falsity. See Harte-Hanks Commc’ns, Inc. v. Connaughton, 491 U.S 657, 688 (1989).

Paul’s Complaint alleges that Defendants were aware of Paul’s true intentions and actions with

respect to CryptoZoo, but that they nevertheless chose to repeatedly label him as a scammer in

order to profit off his celebrity; that contemporaneous evidence from the CryptoZoo venture and

the members of the CryptoZoo team conclusively shows that the venture was legitimate and that

Paul, in particular, acted in good faith; and that Defendants indisputably possessed at least some

contemporaneous evidence of Paul’s intentions and actions. Discovery in this case has revealed

that Defendants were in fact told by multiple percipient witnesses and CryptoZoo insiders that

Paul did not set out to scam anyone, that he truly believed in the CryptoZoo project and was

invested in its success, and that he was not the cause of the project’s ultimate failure. (A. Phillips

Decl. ¶¶ 5-6, Ex. 2.) Discovery has further revealed contemporaneous communications in which

Defendants admitted that they knew Paul had not acted maliciously with respect to the CryptoZoo

project, despite repeatedly and publicly accusing Paul of orchestrating a “scam” and a “massive

con.” (Id. ¶ 6, Ex. 2.)

       Given that third-party discovery has already revealed strong evidence that Defendants

made their “scam” accusations with a reckless disregard for the truth, Paul believes that Defendants

almost certainly possess additional evidence further demonstrating their awareness of Paul’s good

faith. However, because Defendants are withholding nearly all of their source communications,




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drafts, notes, and other internal documents based on a claim of journalistic privilege, Paul has been

prevented from discovering evidence that is crucial to the actual malice element of his claims.

Paul has repeatedly asked Defendants to produce whatever evidence they had about his actions

and intentions with respect to the CryptoZoo project. On August 29, 2024, for instance, he served

Defendants with requests for production (“RFPs”) demanding “All documents and

communications relating to Mr. Paul”; “All documents and communications relating to CryptoZoo

and your investigation into CryptoZoo”; “All calendar entries, calendar invitations, phone logs,

notes, or recordings relating to all interviews, meetings, videoconferences, calls, or conversations

you conducted or attended during which Mr. Paul or CryptoZoo were mentioned, referenced, or

discussed”; and “All notes, summaries, audio recordings, or audio-visual recordings of any

interviews conducted by [Defendants] in the course of [their] investigation of CryptoZoo and/or

for potential inclusion in [Defendants’ YouTube videos], whether ultimately included or not.”

(Phillips Decl. Ex. 1 at 2-4.) Defendants declined to produce responsive material—including the

Malice Evidence—asserting Texas’s journalist’s privilege and the First Amendment reporter’s

privilege. (Id.) Paul’s counsel later conferred with Defendants’ counsel via emails and conference

calls to negotiate production of the Malice Evidence. (Phillips Decl. ¶¶3- 4.) Defendants again

declined to produce it.

                                      LEGAL STANDARD

       A party seeking discovery “bears the initial burden of showing that the materials and

information sought are relevant to the action or will lead to the discovery of admissible evidence.”

Camoco, LLC v. Leyva, 333 F.R.D. 603, 606 (W.D. Tex. 2019). If the party seeking discovery

“establishes that the materials requested are within the scope of permissible discovery, the burden

shifts to the party resisting discovery to show why the discovery… should not be permitted.” Id.




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                                          ARGUMENT

       As this Court recently recognized in recommending denial of Defendants’ Motion for

Judgment on the Pleadings, in all of the statements at issue in this case, “[Defendant] Findeisen

accuse[d] Plaintiff of having orchestrated a ‘scam’ through his CryptoZoo project—in other words,

that Plaintiff committed fraud.” (R. & R. at 11 (Mar. 26, 2025) [Dkt. 74].) Thus, the falsity

element of Paul’s claims will require the jury in this case to determine as a factual matter whether

Plaintiff acted with “dishonesty” and engaged in “deception.” (See id. at 10-11.) But in addition

to truth or falsity, the fault element of Paul’s claims—actual malice—is a central and contested

issue in this action. (See Answer at 1 [Dkt. 9].) And proof of actual malice will necessarily turn

on what Defendants contemporaneously knew and understood regarding Paul’s fraudulent intent—

or lack thereof. Because Defendants are broadly claiming journalistic privilege over all source

communications and internal notes, drafts, and outtakes—including those that might reveal what

Defendants understood about Paul’s good faith intentions and actions—they have thus far been

able to conceal highly relevant evidence bearing on the disputed issue of actual malice.

       The objections Defendants assert against producing materials evidencing their knowledge

of Paul’s good faith all lack merit. Defendants’ invocation of Texas’s journalist’s privilege is

unavailing because Paul satisfies the statutorily specified conditions for overcoming the privilege.

And Defendants’ invocation of a First Amendment privilege to refuse to disclose confidential

informants also fails, both because Paul is not insisting that Defendants disclose the identities of

whoever provided them with any of the Malice Evidence, and also because Paul satisfies the

criteria for overcoming any qualified First Amendment privilege that might otherwise apply.

A.     The Materials Paul Seeks Bear Directly on the Issue of Actual Malice.

       Paul’s burden here is to show that the materials he seeks to compel production of bear on,

or reasonably could lead to other matter bearing on, an issue that is or may be in this case. See


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Oppenheimer Fund, Inc. v. Sanders, 437 U.S. 340, 351 (1978). Paul easily satisfies that burden,

because materials in Defendants’ possession that evidence Paul’s good faith and lack of fraudulent

intent are highly relevant to the disputed element of actual malice.

       As a public figure, Paul can only prevail in this action by proving that Defendants published

their libels with actual malice. Block v. Tanenhaus, 867 F.3d 585, 592 (5th Cir. 2017). The actual

malice inquiry focuses on the publisher’s subjective state of mind at the time of publication, not

the publication’s objective truth. See Gertz v. Robert Welch, Inc., 418 U.S. 323, 334 n.6 (1974).

What matters in this case, in other words, is what Defendants subjectively understood, when they

published their libels, about Paul’s intentions and actions with respect to CryptoZoo.

       Because libel defendants “are prone to assert their good-faith belief in the truth of their

publications,” Herbert v. Lando, 441 U.S. 153, 170 (1979), the law authorizes libel plaintiffs “to

prove the defendant’s state of mind through circumstantial evidence.” Harte-Hanks Commc’ns,

491 U.S. at 668. That can include evidence showing that, when the libel was published, the

defendant possessed or knew of information contradicting it.           Thus, if Defendants possess

communications in which a source affirmed Paul’s good faith and lack of fraudulent intent, or if

Defendants possess internal documents, notes, drafts, or outtakes reflecting Defendants’ awareness

of Paul’s good faith and lack of fraudulent intent, such materials would be strong circumstantial

evidence of actual malice. See Brown v. Petrolite Corp., 965 F.2d 38, 47 (5th Cir. 1992); Zerangue

v. TSP Newspapers, Inc., 814 F.2d 1066, 1070 (5th Cir. 1987); Golden Bear Distrib. Sys. of Tex.,

Inc. v. Chase Revel, Inc., 708 F.2d 944, 950 (5th Cir. 1983); Huckabee v. Time Warner Ent. Co.,

19 S.W.3d 413, 426 (Tex. 2000); Palin v. N.Y. Times Co., 940 F.3d 804, 814-15 (2d Cir. 2019);

Lemelson v. Bloomberg, L.P., 903 F.3d 19, 25 (1st Cir. 2018).




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B.      Defendants’ Reasons for Withholding Crucial Malice Evidence Lack Merit.

        Because Paul can readily carry his burden of showing that the materials he seeks are

relevant, Defendants must produce them unless they can articulate a valid objection to doing so.

Neither of Defendants’ stated objections qualifies.

        First, Defendants have objected to production based on Texas’s journalist’s privilege,

codified at Tex. Civ. Prac. & Rem. Code Ann. § 22.023. But Section 22.024 of Texas’s Civil

Practice and Remedies Code states that the qualified journalist’s privilege recognized in

Section 22.023 yields where six statutorily established criteria are met. All six criteria are satisfied

here.

        Second, Defendants have objected based on a claimed First Amendment privilege that in

limited circumstances can protect reporters from having to divulge confidential sources’ identities.

But Paul is not necessarily asking Defendants to divulge the identity of any particular source, and

it is likely that communications or internal notes/drafts can, if necessary, be redacted to protect

source identity while disclosing the relevant information Paul seeks. But even if there are instances

where disclosure of highly relevant malice evidence would necessarily disclose the identity of a

source, the First Amendment privilege is intended to yield in cases like this one, where the plaintiff

has a compelling need for the requested information, the defendant is the only one who can provide

it, and the plaintiff has supplied evidence that the defendant’s alleged libels were false.

               1.      Texas’s Journalist’s Privilege Does Not Shield Defendants from
                       Producing the Evidence They Had Concerning Paul’s Good Faith.

        Texas’s statutory journalist’s privilege is a qualified one that is not intended to bar public-

figure plaintiffs from obtaining evidence necessary to prove actual malice. See Abraham v. Greer,

509 S.W.3d 609, 616 (Tex. App.—Amarillo 2016, pet. denied). Section 22.024 of the Texas Civil

Practices and Remedies Code expressly states that the qualified privilege is overcome if six



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statutory criteria are met. All are easily satisfied with respect to the actual malice evidence Paul

seeks.

         Paul has exhausted all reasonable efforts to obtain the information from other sources.

With respect to source communications, Paul has served document subpoenas on all third parties

he believes could have been sources for Defendants. Because Defendants are withholding their

sources’ identities, Paul has no way of knowing the full universe of people who Defendants

communicated with, and no way of obtaining those communications other than from Defendants.

Paul has no way of obtaining Defendants’ internal documents, notes, drafts, and outtakes other

than from Defendants.

         Paul’s request is not overbroad, unreasonable, or oppressive, and is limited to

information bearing directly on the circumstances surrounding the accuracy of Defendants’

statements. Paul seeks a narrow category of materials that are directly relevant to the disputed

issue of actual malice. And the qualified journalist privilege is not meant to categorically bar

discovery of evidence bearing on actual malice. See Greer, 509 S.W.3d at 616.

         Paul gave Defendants reasonable and timely notice of his demand. Paul requested the

materials at issue be produced in August 2024, and Defendants have since refused to produce them.

         Paul’s interest in obtaining crucial actual malice evidence outweighs Defendants’

interest in withholding it. Paul’s interest in obtaining evidence demonstrating Defendants’

awareness of his good faith and lack of fraudulent intent is considerable, since “[t]o the extent that

the disclosure [of the purported basis for a defendant’s libels] might illuminate the defendant’s

state of mind, it goes to the heart of the plaintiff’s case, and it is evidence that is not likely to be

available elsewhere.” Marc A. Franklin et al., Mass Media Law 659 (6th ed. 2000). Defendants’

interest in withholding such evidence, by contrast, is negligible. While the public and journalists




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have a generalized interest in gathering news free of unreasonable burdens, courts routinely hold

that interest is outweighed by citizens’ general obligation to provide information pursuant to

routine legal processes.    E.g., Branzburg v. Hayes, 408 U.S. 665, 686 (1972); Miller v.

Transamerican Press, Inc., 621 F.2d 721, 726-27, supplemented on denial of reh’g, 628 F.2d 932

(5th Cir. 1980).

       Paul is not seeking peripheral, nonessential, or speculative information. As explained

above, Paul seeks only evidence that bears squarely on an element of his claim.

       The evidence Paul seeks is vital to proving actual malice. As explained above, Paul seeks

to discover only communications, notes, drafts, and outtakes that bear directly on the question of

whether Defendants accused Paul of orchestrating a scam while subjectively knowing that

accusation to be false. Evidence that a defendant was in possession of information contradicting

his libels is textbook evidence of actual malice. E.g., Zerangue, 814 F.2d at 1070.

       Because Paul’s request satisfies all six criteria in Section 22.024, Texas’s journalist’s

privilege must yield and the materials at issue should be produced.

               2.      The First Amendment does not authorize Defendants to withhold
                       highly relevant materials that no one else can produce.

       The qualified First Amendment privilege against disclosure of confidential sources also

does not shield Defendants from producing the highly relevant materials at issue. The privilege

that the Fifth Circuit recognized in Miller was a qualified right to avoid disclosing a confidential

source’s identity, not a privilege against discovery of material that has informed a journalist’s

thought processes or mental impressions. 621 F.2d at 725. As the Miller panel observed, merely

“requiring disclosure of journalists’ thought processes would have no chilling effect on the

editorial process; the only effect would be to deter recklessness.” Id. That, the Miller panel

explained, is precisely what the U.S. Supreme Court decided in Herbert v. Lando, 441 U.S. 153



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(1979), where it “held that the press had no First Amendment privilege against discovery of mental

processes where the discovery was for the purpose of determining whether malice existed.” Miller,

621 F.2d at 725. Here, Paul is not directly seeking the identity of any confidential source; rather,

he is seeking communications and documents relevant to Defendants’ thought processes and

bearing upon their knowledge of Paul’s good faith at the time they accused Paul of acting

maliciously and fraudulently. There is no reason to think that production of the materials Paul

seeks will necessarily require disclosure of the identity of any particular source.

       To the extent Defendants claim that production of the materials Paul seeks will necessarily

require such disclosure, and that the issue cannot be addressed through redactions or other

preventative measures, then Defendants should nevertheless be compelled to produce such

materials. Under the test from Miller, the privilege is overcome, and a source’s identity must be

disclosed, whenever a libel plaintiff: (1) shows that the challenged statement was published,

factually untrue, and defamatory; (2) made reasonable efforts to discover the information from

other sources, but no such source was available; and (3) shows that knowing the informant’s

identity is necessary to the proper preparation and presentation of the case.             Miller v.

Transamerican Press, Inc., 628 F.2d 932 (5th Cir. 1980) (mem.). Paul has already satisfied the

first component by providing a sworn declaration that Defendants’ accusations were false and

defamatory. (Paul Decl. at ¶¶ 7, 13-15, 17-18 [Dkt. 35-2]); Miller, 621 F.2d at 723 (holding that

an affidavit from the plaintiff sufficed to establish falsity for the purposes of assessing a First

Amendment privilege claim).       He satisfies the second component because no one besides

Defendants can say what information Defendants possessed, at the time of publication, that shed

light on Paul’s good faith and lack of fraudulent intent with respect to CryptoZoo. And he satisfies

the third component because evidence bearing directly on actual malice is indisputably necessary




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to the proper presentation of his case. With that, as the Fifth Circuit held in Miller, “the [qualified

First Amendment] privilege is not absolute, and in a libel case as is here presented, it must yield.”

621 F. 2d at 725.

                                          CONCLUSION

       This Court should compel Defendants to promptly produce: (1) all source communications

in which a source provided information reflecting upon Paul’s good faith and lack of fraudulent

intent with respect to the CryptoZoo project; and (2) all internal documents, notes, drafts, and

outtakes reflecting upon Defendants’ understanding and knowledge as to Paul’s good faith and

lack of fraudulent intent with respect to the CryptoZoo project.


April 9, 2025                                  /s Andrew C. Phillips
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                             CERTIFICATE OF CONFERENCE

       Pursuant to Local Rule CV-7(G), I certify that Plaintiff conferred with Defendants on April

9, 2025 regarding the foregoing Motion.            Defendants persisted in refusing to produce

communications with sources who provided information regarding Plaintiff’s good-faith

intentions, or lack of bad-faith intentions, with respect to CryptoZoo, as well as any documents,

notes, drafts, or outtakes in Defendants’ possession that reflect upon Defendants’ understanding

and knowledge as to Plaintiffs good-faith intentions or lack of bad-faith intentions.



Date: April 9, 2025                                   /s/ Andrew C. Phillips




                                 CERTIFICATE OF SERVICE

       I hereby certify that, on the April 9, 2025, I electronically filed the foregoing with the Clerk

of Court using the CM/ECF system which will send notification of such filing to all counsel of

record who are deemed to have consented to electronic service.



                                                      /s Andrew C. Phillips




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